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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


JODY LYNN FERGUSON,

          Plaintiff,                             Case No. 1:16−cv−01099−PLM−PJG

    v.

MUSKEGON, COUNTY OF, et al.,

          Defendants.
                                          /

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